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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

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WAYNE GILMORE,                                        :
an individual,                                        :
                                                      :       CASE NO.:
                  Plaintiff,                          :
                                                      :
v.                                                    :
                                                      :
NOVCO REALTY CO.,                                     :
a Domestic Corporation,                               :
                                                      :
                  Defendant.                          :
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                                                COMPLAINT

        Plaintiff, WAYNE GILMORE, by and through his undersigned counsel, hereby files this

Complaint and sues NOVCO REALTY CO., a Domestic Corporation, for declaratory and

injunctive relief, attorneys’ fees, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq., and alleges:

                                    JURISDICTION AND PARTIES

        1.       This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans With Disabilities Act, 42 U.S.C. § 12181 et seq. (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

        2.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

        3.       Plaintiff, WAYNE GILMORE, (hereinafter referred to as “MR. GILMORE” or

“PLAINTIFF”), is a resident of St. John the Baptist Parish, Louisiana.

        4.       MR. GILMORE is a qualified individual with a disability under the ADA. MR.

GILMORE is paralyzed from the waist down. MR. GILMORE is a paraplegic and uses a



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wheelchair as his primary means of mobility.

       5.      Due to his disability, PLAINTIFF is substantially impaired in several major life

activities and requires a wheelchair for mobility.

       6.      Upon information and belief, Defendant NOVCO REALTY CO., a Domestic

Corporation registered to do business in the State of Louisiana (hereinafter referred to as

“DEFENDANT”), is the owner, lessee, lessor and/or operator of the real properties and

improvements which is the subject of this action, to wit: the “Property,” known as the Riverlands

Shopping Center, generally located at 1500 West Airline Highway, La Place, Louisiana, 70068.

The DEFENDANT is obligated to comply with the ADA.

       7.      All events giving rise to this lawsuit occurred in the Eastern District of Louisiana,

St. John the Baptist Parish, Louisiana. DEFENDANT is responsible for complying with the

obligations of the ADA.

                       COUNT I - VIOLATION OF TITLE III OF THE
                         AMERICANS WITH DISABILITIES ACT

       8.      PLAINTIFF realleges and reavers the proceeding paragraphs as if they were

expressly restated herein.

       9.      The Property, a shopping center, is a public accommodation and is subject to the

ADA.

       10.     MR. GILMORE has visited the Property numerous times and plans to visit the

Property again in the near future.

       11.     During his visits, MR. GILMORE experienced serious difficulty accessing the

goods and utilizing the services therein due to the architectural barriers discussed in detail herein.

       12.     MR. GILMORE continues to desire to visit the Property, but continues to

experience serious difficulty due to the barriers discussed herein which still exist.

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        13.     MR. GILMORE intends to and will visit the Property to utilize the goods and

services in the future, but fears that he will encounter the same barriers to access which are the

subjects of this action.

        14.     DEFENDANT is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302

et seq. and is discriminating against PLAINTIFF due to, but not limited to, its failure to remedy,

inter alia, the following violations:

                A.         inaccessible parking designated as accessible throughout the Property due

                           to excessive slopes and cross slopes;

                B.         inaccessible parking designated as accessible throughout the Property due

                           to improper access aisles comprised of chipped concrete, obstacles, and

                           excessive variations in surface grade;

                C.         inaccessible routes from the parking to the sidewalk due to obstacles

                           (chipped concrete and excessive lips);

                D.         inaccessible curb cuts due to excessive slopes with steep side flares and

                           failure to provide smooth transitions; and

                E.         inaccessible entrances to tenant spaces due to excessive threshold rises

                           without proper beveling.

        15.     Furthermore, DEFENDANT continues to discriminate against PLAINTIFF by

failing to make reasonable modifications in policies, practices or procedures, when such

modifications are necessary to provide PLAINTIFF an equal opportunity to participate in, or

benefit from, the goods, services, facilities, privileges, advantages, and accommodations which

DEFENDANT offers to the general public; and by failing to take such efforts that may be

necessary to ensure that no individual with a disability is excluded, denied services, segregated,


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or otherwise treated differently than other individuals because of the absence of auxiliary aids

and services.

       16.      To date, all barriers to access and ADA violations still exist and have not been

remedied or altered in such a way as to effectuate compliance with the provisions of the ADA,

even though removal is readily achievable.

       17.      Removal of the discriminatory barriers to access located on the Property is readily

achievable, reasonably feasible, and easily accomplished, and would not place an undue burden

on DEFENDANT.

       18.      Removal of the barriers to access located on the Property would provide

PLAINTIFF an equal opportunity to participate in, or benefit from, the goods, services, and

accommodations which DEFENDANT offers to the general public.

       19.      Independent of his intent to return as a patron to the Property, PLAINTIFF

additionally intends to return as an ADA tester to determine whether the barriers to access stated

herein have been remedied.

       20.      PLAINTIFF has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. PLAINTIFF is entitled to have his reasonable attorneys’ fees,

costs, and expenses paid by DEFENDANT, pursuant to 42 U.S.C. § 12205.

       WHEREFORE, PLAINTIFF demands judgment against DEFENDANT, and requests the

following injunctive and declaratory relief:

       A.       That this Court Declare that the Property owned, leased, leased to and/or operated

                by DEFENDANT is in violation of the ADA;

       B.       That this Court enter an Order directing DEFENDANT to alter the facility to

                make it accessible to and useable by individuals with disabilities to the full extent


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      required by Title III of the ADA;

C.    That this Court enter an Order directing DEFENDANT to evaluate and neutralize

      its policies, practices, and procedures towards persons with disabilities for a

      reasonable amount of time, allowing implementation and completion of corrective

      procedures;

D.    That this Court award reasonable attorneys’ fees, costs (including expert fees),

      and other expenses of suit, to PLAINTIFF; and

E.    That this Court award such other and further relief as it deems necessary, just and

      proper.


                                    Respectfully submitted,

                                    KU & MUSSMAN, P.A.


                                By: /s/ M. Ryan Casey
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